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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT
-------------------------------------------------------------X

UNITED STATES OF AMERICA,
                                                                   Docket No. 3:24-cr-00151
        -against-

DYLAN MEISSNER

                                    Defendant.
-------------------------------------------------------------X




                       DEFENDANT’S PRE-SENTENCE MEMORANDUM




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                                          INTRODUCTION

        This Pre-Sentence Memorandum is submitted in advance of the upcoming sentencing of

our client, DYLAN MEISSNER. It addresses the legal and factual issues pursuant to 18 U.S.C.

§ 3553 and the U.S. Sentencing Guidelines, which we believe warrant a sentence below the

applicable Guidelines range.

      THE PRE-SENTENCE REPORT AND SENTENCING GUIDELINES ISSUES

        Dylan Meissner pled guilty to one count of wire fraud pursuant to a Plea Agreement dated

July 18, 2024 (“Plea Agreement”). Pursuant to that agreement, the parties specifically reserved as

a legal issue for this Court’s determination whether an additional two-point enhancement was

warranted for “substantial hardship to one or more victims” pursuant to USSG

§ 2B1.1(b)(2)(A)(iii) (see Plea Agreement, p. 3-5). 1

                Substantial Financial Hardship Under § 2B1.1

        The defense contests a two-point enhancement for “substantial financial hardship” under

USSG § 2B1.1 (PSR ¶ 27). Sentencing Guidelines § 2B1.1(b)(2)(A)(iii) provides for a two-level

increase in the offense level if the offense resulted in “substantial financial hardship” to “one or

more victims.” “Victim” means “any person who sustained any part of the actual loss determined

under subsection (b)(1).” USSG § 2B1.1, cmt. n. 1. While the definition of “‘[p]erson’ includes

individuals, corporations, [and] companies,” id., it is apparent from the types of harms referenced




1
  If the offense is found by this Court to have resulted in “substantial financial hardship to one or more
victims” under USSG § 2B1.1(b)(2)(A)(iii), this will preclude Mr. Meissner from receiving the two-point
reduction as a “zero-point offender” under USSG § 4C1.1(a)(6). This enhancement, in effect, results in a
four-point swing in the ultimate offense level. See Plea Agreement, p. 5, ¶¶ 1-3. Because the “substantial
financial harm” enhancement is not intended to apply to corporate victims, Mr. Meissner ought to receive
the two-point reduction as a zero-point offender.



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that this very consequential enhancement (resulting in a four-point swing because it precludes the

“zero offender” provision) was intended for individual, rather than corporate, victims.

       The application notes provide a list of factors reflecting the non-corporate nature of this

provision. Application Note 4(F) provides:

       In determining whether the offense resulted in substantial financial hardship to the victim,
       the court shall consider, among other factors, whether the offense resulted in the victim

               (i)     becoming insolvent;
               (ii)    filing for bankruptcy under the Bankruptcy Code (title 11, United States
               Code);
               (iii) suffering substantial loss of a retirement, education, or other savings or
               investment fund;
               (iv)    making substantial changes to his or her employment, such as postponing
               his or her retirement plans;
               (v)     making substantial changes to his or her living arrangements, such as
               relocating to a less expensive home; and
               (vi)    suffering substantial harm to his or her ability to obtain credit.

USSG § 2B1.1 Application Note 4(F).

        It appears from the examples listed in Application Note 4(F)—e.g., living arrangements,

education, employment, credit, and relocation—that this provision was intended to apply to

individuals rather than corporations like Delphi. Significantly, neither the Second Circuit, nor the

United States District Court for Connecticut, have applied the “substantial financial hardship”

enhancement in criminal prosecutions where the victim is a corporation rather than an individual

victim. Cf. U.S. v. Jaramillo, 754 Fed.Appx. 61 (2d Cir. 2019) (applying the substantial financial

hardship enhancement to where the defendant’s criminal conduct had a “profoundly devastating

impact” on individual unsophisticated immigrant investors); U.S. v. Swartz, 758 Fed.Appx. 108

(2d Cir. 2018) (applying the substantial financial hardship enhancement to individual victims, and

not a corporate victim); U.S. v. MacCallum, 2018 WL 2999907, at *11-12 (W.D.N.Y. June 15,

2018) (holding that that the substantial financial hardship enhancement applied where, as a result



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of the defendant’s fraud, one victim had to delay her retirement and two victims suffered losses to

their entire life insurance policies and annuities). The Probation Department and the Government

are asking this Court to blaze a new path in the law by applying this provision (which has the harsh

effect of precluding a reduction as a zero-point offender) to a corporate victim. We would urge the

Court not to do so. 2

    STRICT APPLICATION OF THE GUIDELINES TO MR. MEISSNER WILL RESULT
                     IN AN UNREASONABLE SENTENCE

        In the event that this Court disagrees with The Pre-Sentence Report regarding the

“sophisticated means” enhancement and also disagrees with our legal analysis that the “substantial

financial harm” enhancement should not apply to corporate victims (and its concomitant preclusion

of the “zero-offender” reduction), the resulting sentence will overstate the magnitude of Mr.



2
  While this was the sole legal issue reserved for this Court’s determination, the defense having stipulated
to the applicability of the “sophisticated means” enhancement, the Plea Agreement specifically provided
that if the Probation Department “contemplates any sentencing calculations different from those stipulated
by the parties,” then the parties are permitted “to respond to any inquiries and make appropriate legal
arguments regarding the proposed alternate calculations.” Plea Agreement at p. 5, ¶ 7. The Probation
Department has correctly rejected the “sophisticated means” enhancement. As noted in PSR paragraph 28,
Mr. Meissner “was not a ‘sophisticated trader’,” was struggling with substance abuse, and was “not making
rational decisions” at the time of his course of criminal conduct. To the contrary, his conduct was hardly
“especially complex or especially intricate.” See USSG § 2B1.1 Application Note 9(B).
          The Probation Report is undoubtedly correct in rejecting this enhancement. District courts have
held that mere fraud cases that do not involve the use fictitious entities, corporate shells, or offshore
financial accounts are not “sophisticated” as contemplated by the Guidelines. See U.S. v. Executive
Recycling, Inc., 953 F.Supp.2d 1138, 1167-68 (D. Colo. 2013) (sophisticated means enhancement not
triggered, especially where “there was no evidence of hidden transactions, false entities, corporate
shenanigans, or offshore financials”); U.S. v. Garcia, 939 F.Supp.2d 1155, 1215 (D.N.M. 2013) (holding
that defendant’s creation of false invoices to conceal his scheme of misappropriating loan funds was not
sophisticated, because defendant did “not seem to have done so in a particularly sophisticated fashion that
made detection of the offense difficult,” and because the defendant did not use “fictitious entities, corporate
shells, or offshore financial accounts” to commit the fraud); U.S. v. Brown, 877 F.Supp.2d 736 (D. Minn.
2012) (sophisticated means enhancement in wire fraud case not warranted, because even though defendant
opened separate bank accounts at two banks, solicited funds from victims in multiple states, and forged
documents to orchestrate a fraud scheme, defendant “did not create fictitious entities, corporate shells, or
offshore financial accounts”). Accordingly, we urge this Court to agree with the Probation Report and
reject the “sophisticated means” enhancement.



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Meissner’s crime and take it outside the “heartland” envisioned by the Guidelines. See USSG Ch.

One, Pt. A, Subpt. 1 (“The Commission intends the sentencing courts to treat each guideline as

carving out a ‘heartland,’ a set of typical cases embodying the conduct that each guideline

describes.”).

        The Supreme Court explained in Rita v. U.S., 551 U.S. 338, 347-48 (2007) that a district

court should begin all sentencing proceedings by correctly calculating the Guidelines range. “As

a matter of administration and to secure nationwide consistency, the Guidelines should be the

starting point and the initial benchmark.” Gall v. U.S., 552 U.S. 38, 49 (2007). However, “the

district judge should then consider all of the [18 U.S.C.] § 3553(a) factors to determine whether

they support the sentence requested by a party.” Id. at 49-50.

        In light of the manner in which the “sophisticated means” and “substantial financial harm”

provisions, combined with preclusion of the “zero offender” reduction, greatly elevate the

Guidelines’ sentence, and because of the unique circumstances of this offender, a Guideline

sentence would fall outside the “heartland.” After consideration of the Sentencing Guidelines, this

Court is required to consider, pursuant to 18 U.S.C. § 3553(a)(1), “the nature and circumstances of

the offense and the history and characteristics of the defendant.”

        Evaluating the “nature and circumstances of the offense” in Mr. Meissner’s case, it is due

primarily to an 18-level increase under USSG § 2B1.1(b)(1)(J)—based on a financial loss

calculation of approximately $4,461,828.24 (PSR at ¶ 26)—that the Sentencing Guidelines provide

for a sentence of between 51 to 63 months’ and 78 to 97 months’ imprisonment. See Plea

Agreement, p. 5, ¶¶ 2-3. 3 But although the intended loss amount must be used for the purposes of



3
  Under the Government’s calculations, a total offense level of 28 would result in a Guideline range of 78
to 97 months of imprisonment. Under the defendant’s calculation, a total offense level of 24 would result
in a Guideline range of 51 to 63 months.

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correctly calculating the Sentencing Guidelines range, the Court must weigh the section 3553(a)

factors to arrive at an independently “reasonable” sentence based on an “individualized application

of the statutory sentencing factors” in § 3553. U.S. v. Dorvee, 616 F.3d 174, 184 (2d Cir. 2010)

(citing Gall v. U.S., 552 U.S. 38, 46-47 (2007)).

       For two decades, district courts in this Circuit have been critical of the “questionable”

financial loss factor for the ultimate determination of precisely how much time an offender spends

in prison. See U.S. v. Emmenegger, 329 F.Supp.2d 416, 427 (S.D.N.Y. 2004). In Emmenegger,

the court identified the problems with this Guideline: “the weakness of the correlation between

loss and moral seriousness; the rigidity of the loss amount overriding the diverse reality of complex

financial crimes; the lack of any consideration of danger to society; and so on.” U.S. v. Johnson,

2018 WL 1997975, at *3 (E.D.N.Y. Apr. 27, 2018) (citing Emmenegger, 329 F.Supp.2d at 427-

28). Similarly, another district court in this Circuit held: “This case represents another example

where the guidelines in a securities-fraud prosecution ‘have so run amok that they are patently

absurd on their face’ […] due to the ‘kind of piling on of points for which the guidelines have

frequently been criticized.’” U.S. v. Parris, 573 F.Supp.2d 744, 745 (E.D.N.Y 2008) (internal

citation and quotation marks omitted), quoting U.S. v. Adelson, 441 F.Supp.2d 506, 515 (S.D.N.Y.

2006) (commenting on the “utter travesty of justice that sometimes results from the guidelines’

fetish with abstract arithmetic, as well as the harm that guideline calculations can visit on human

beings if not cabined by common sense”); see also U.S. v. Gupta, 904 F.Supp.2d 349, 351

(S.D.N.Y. 2012) (“By making a Guidelines sentence turn, for all practical purposes, on this single

factor, the Sentencing Commission effectively ignored the statutory requirement that federal

sentencing take many factors into account, and, by contrast, effectively guaranteed that many such

sentences would be irrational on their face.”); USSG § 2B1.1, Application Note 21(a) (“There may



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be cases in which the offense level determined under this guideline substantially overstates the

seriousness of the offense. In such cases, a downward departure may be warranted.”).

       Increasingly, courts have skeptically viewed such large increases in sentences based almost

solely on the single factor of financial loss. In U.S. v. Corsey, 723 F.3d 366 (2d Cir. 2013), Judge

Underhill (U.S. District Court for the District of Connecticut, sitting by designation) emphasized

in his concurrence the substantive unreasonableness this factor presents: “The history of bracket

inflation directed by Congress renders the loss guideline fundamentally flawed, especially as loss

amounts climb…The higher the loss amount the more distorted is the guideline’s advice to

sentencing judges.” Id. at 380 (Underhill, J., concurring). More recently, in U.S. v. Johnson, 2018

WL 1997975 (E.D.N.Y. Apr. 27, 2018), the court noted: “As far as this court can tell, the

Sentencing Commission’s loss-enhancement numbers don’t result from any reasoned

determination of how the punishment can best fit the crime, nor an approximation of the moral

seriousness of the crime.” Id. at *3 (citing Corsey, 723 F.3d at 380 [Underhill, J., concurring]).

       In this case, the magnitude of the financial loss was unusual in that it was primarily

motivated by an underlying pathology, rather than an overwhelming desire to live a “lavish

lifestyle” (see PSR ¶¶ 23, 117).




                                                  As discussed in more detail below, Mr. Meissner

has devoted his energies to atoning for his criminal conduct, which is antithetical to his character




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and the values he has otherwise exhibited during the course of his life. 4 Mr. Meissner’s crimes,

which are “the very antithesis of the values he had previously embodied,” should “warrant a non-

guideline sentence, even aside from the other factors favoring leniency.” Gupta, 904 F.Supp.2d at

354. Indeed, this “single factor as the basis for enhanced punishment”—the amount of monetary

loss caused by the offense—must be considered against the many factors outlined in 18 U.S.C.

§ 3553.” Id. at 351.

          THE SECTION 3553 FACTORS AS APPLIED TO DYLAN MEISSNER

                The Legal Standard

        In U.S. v. Booker, 543 U.S. 220 (2005), the Supreme Court held that the mandatory aspects

of the Sentencing Guidelines were unconstitutional. District courts must still “consider” the

sentencing factors set forth in 18 U.S.C. §3553(a), though “robotic incantations” of the § 3553(a)

factors are not required. U.S. v. Crosby, 397 F.3d 103, 113 (2d Cir. 2005) (“[W]e will not prescribe

any formulation a sentencing judge will be obliged to follow in order to demonstrate discharge of

the duty to ‘consider’ the Guidelines.”), abrogated on other grounds by U.S. v. Fagans, 406 F.3d

138 (2d Cir. 2005). The ultimate sentence, however, must be based upon the factors enumerated

in § 3553(a). See U.S. v. Pereira, 465 F.3d 515, 523 (2d Cir. 2006) (“a district court must ‘consider’

the factors listed in § 3553(a) in order for the sentence it imposes to be reasonable”).

        As the Supreme Court held in Gall v. U.S., 552 U.S. 38 (2007), there is no presumption of

unreasonableness when a sentence falls outside the Guidelines range, provided the district court

properly considered the § 3553(a) factors. See id. at 47 (“[T]he approaches we reject come too




4
  Mr. Meissner has wasted no time ensuring that he begins to long and arduous process of paying restitution
to Delphi. At the time of Mr. Meissner’s departure from Delphi, he owned shares in a Delphi venture fund.
Mr. Meissner has already executed the relevant documents prepared by Delphi’s counsel which result in a
liquidation of the value of his shares and repayment to Delphi of the sum of $69,608.00 (PSR ¶ 77).


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close to creating an impermissible presumption of unreasonableness for sentences outside the

Guidelines range.”). In fact, the Supreme Court’s analysis in Gall rejected the premise that a

district court may rely on the presumption that a Guidelines sentence is reasonable. Id. at 50 (“[a

sentencing judge] may not presume that the Guidelines range is reasonable”). Instead, in applying

the § 3553(a) factors, the sentencing judge:

       Must make an individualized assessment based on the facts presented. If he decides
       that an outside-Guidelines sentence is warranted, he must consider the extent of the
       deviation and ensure that the justification is sufficiently compelling to support the
       degree of the variance.

Id.

       The Second Circuit has also noted the broad discretion district courts have in imposing a

downward variance from the Guidelines range, so long as the court sufficiently justifies the basis

for, and extent of, the variance. See U.S. v. Stewart, 590 F.3d 93, 135 (2d Cir. 2009) (“District

courts are generally free to impose sentences outside the recommended Guidelines range but must

consider the extent of the deviation and ensure that the justification is sufficiently compelling to

support the degree of the variance”) (citation and internal quotation marks omitted); U.S. v. Cavera,

550 F.3d 180, 188 (2d. Cir. 2008) (en banc) (“A sentencing judge has very wide latitude to decide

the proper degree of punishment for an individual offender and a particular crime.”).

       The basic principle is that the length of the sentence this Court imposes on Dylan Meissner

must be “reasonable” in light of the factors enumerated in 18 U.S.C. § 3553(a). See Cavera, 550

F.3d at 189-190 (2d Cir. 2008); U.S. v. Verkhoglyad, 516 F.3d 122, 127 (2d Cir. 2008). Those

factors include: the nature and circumstances of the offense and the history and characteristics of

the defendant; the need for the sentence to reflect the seriousness of the offense, afford adequate

deterrence, and protect the public; and provide the defendant with needed training or medical care.

18 U.S.C. § 3553(a)(1), (2).


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       Both the PSR                                  detail Mr. Meissner’s history with substance

abuse, which culminated in February 2022 and endured through the offense conduct until Mr.

Meissner’s termination from Delphi in November 2022

         PSR ¶¶ 55-60).




      A large motivating factor to Mr. Meissner’s addiction was that he “wanted to maintain that

‘nothing was wrong,’” believing that he could on his own pull himself out of the financial hole he

dug (PSR ¶ 59).

       Ultimately, Mr. Meissner admitted both to himself and to Delphi that he was a drug addict

who had betrayed the company through his large-scale embezzlement. He assisted Delphi in

preparing a spread sheet to assess the damage he had caused the company




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“role model.”         writes how Mr. Meissner helped          to “excel[ ] academically” and was

“instrumental in         decision-making during many critical junctions in            career” (Exh.

E [Letter of                 ]). Two of Mr. Meissner’s childhood friends further describe him as

“selfless,” “thoughtful,” “responsible,” and “loyal” (Exh. C [Letter of            ]; Exh. K [Letter

of              ]).                , a close friend of Mr. Meissner’s since elementary school, even

describes Mr. Meissner as the “glue” of the “camaraderie” holding their “group of friends” together

for decades (Exh. K [Letter of               ]).

                Mr. Meissner’s Conduct was Antithetical to His Lifelong Values

       Having reached rock bottom in his criminal conduct, Mr. Meissner demonstrated his

intrinsic motivation and ability to turn his life around and rectify the harm he has caused. He has

voluntarily sought out extensive therapy and treatment and has now maintained his sobriety for

approximately two years. With these resources, Mr. Meissner has gained the skills to identify and

regulate his own cognitive distortions and emotional distress, which will serve as strong protective

factors against Mr. Meissner relapsing or recidivating (



       Every single friend and family member who has written to the Court in support of Mr.

Meissner describes how his course of criminal conduct was so unlike the Dylan Meissner they had

come to know. They all emphasize how deeply Mr. Meissner regrets his actions and the harm he

has caused to Delphi and its employees. But as Mr. Meissner’s father describes, it is evident that

he “has the ability and talent to correct past mistakes and make good choices going forward” (Exh.

F [Letter of                 ]).




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                                        CONCLUSION

        For the reasons stated above, the balance of factors contemplated by 18 U.S.C. § 3553

favor a non-Guidelines sentence. Indeed, the Probation Report at page 26, para. 108 states that

this Court may wish to consider a non-Guidelines sentence. In this regard, while it may appear at

first blush counter-intuitive, this Court should be aware that no matter what non-Guidelines

sentence it deems fair and just, Mr. Meissner’s commendable sustained sobriety renders him

ineligible for the Bureau of Prison’s Residential Drug Abuse Program (“RDAP”). As this Court

is no doubt aware, RDAP is a nine-month program which provides inmates with an opportunity to

engage in cognitive behavioral therapy and participate in half-day programming and half-day

work, school, or vocational activities. 5 At the successful completion of the program, inmates may

earn a reduction in their sentence. However, because Mr. Meissner has demonstrated a two-year

period of sobriety prior to his sentencing, he is ineligible for the program and the reduction in

the term of incarceration which goes along with it.

       In fashioning a section 3553 non-Guideline sentence “sufficient, but not greater than

necessary,” we ask this Court to consider                     and the many letters demonstrating

that Dylan Meissner is a lot more than the sum of his criminal conduct. That conduct must be

viewed in the context of his addiction and compulsions, as well as the manner in which he has

lived his life both before and after his criminal conduct. Throughout his life he has done much

good for his family, his friends and his community and if given the opportunity, he can do more

good. He is a good person who has committed a serious crime and for that, he is overcome with

remorse and regret. See Exhibits A – K.

       Dylan Meissner well understands and appreciates the gravity of his criminal course of


5
   Federal Bureau of Prisons Substance Abuse Treatment, Fed. Bureau of Prisons (Nov. 2024),
https://www.bop.gov/inmates/custody_and_care/substance_abuse_treatment.jsp.

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conduct and that the time has now come for him to face a term of incarceration. The question for

this Court is how much incarceration is “sufficient but not greater than necessary” in light of the

fuller picture painted for the Court of the individual who now stands before the Court for

sentencing. While we are confident that whatever sentence this Court chooses to impose will be a

fair and just one, we nevertheless respectfully request, in light of all the §3553(a) factors, that this

Court impose a sentence of 1 year and 1 day of incarceration.




       Dated: New York, New York
              December 2, 2024



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